                      UNITED  STATES Document:
                      Case: 24-8047  COURT OF11APPEALS
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                                                            Date THIRD   CIRCUIT
                                                                       12/18/2024

                                                    No. 24-8047

                           ATLAS DATA PRIVACY CORP., et al. vs. WE INFORM LLC, et al.


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 Please OLVWthe names of all parties represented, using additional sheet(s) if necessary:

 Yardi Systems, Inc.
Indicate the party’s role IN THIS COURT (check only one):
          ✔ Petitioner(s)
         ____                              ____ Appellant(s)                ____ Intervenor(s)

         ____ Respondent(s)                ____ Appellee(s)                 ____ Amicus Curiae

(Type or Print) CounseO’s Name           Derek L. Shaffer
                                                     _________________________________________________
                                            ✔ Mr.
                                           ____            ____ Ms.         ____ Mrs.    ____ Miss   ____ Mx.

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SIGNATURE OF COUNSEL: /s/ Derek L. Shaffer

COUNSEL WHO FAIL TO FILE AN ENTRY OF APPEARANCE WILL NOT BE ENTITLED TO RECEIVE
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ATTORNEYS WHO ARE MEMBERS OF THIS COURT’S BAR OR WHO HAVE SUBMITTED A
PROPERLY COMPLETED APPLICATION FOR ADMISSION MAY FILE AN APPEARANCE FORM.

A non-government attorney who is not currently in active status will be required to file the Attorney
Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REV. 
